                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN


       In re: LEWIS, ANGELA SWORD                                    §   Case No. 11-44385
              LEWIS, THOMAS K.                                       §
                                                                     §
   Debtor(s)                                                         §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

          Timothy J. Miller, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $25,326.14                          Assets Exempt: $25,326.14
 (without deducting any secured claims)
 Total Distribution to Claimants: $4,507.92           Claims Discharged
                                                      Without Payment: $362,650.17

 Total Expenses of Administration: $5,470.26


         3) Total gross receipts of $     9,978.18 (see Exhibit 1 ), minus funds paid to the debtor
and third parties of $       0.00     (see Exhibit 2 ), yielded net receipts of $9,978.18
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)


 11-44385-wsd        Doc 46      Filed 01/23/12      Entered 01/23/12 00:34:08           Page 1 of 10
                                        CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED           ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                             $0.00              $0.00              $0.00             $0.00
 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                          0.00           5,470.06           5,470.26          5,470.26

   PRIOR CHAPTER
   ADMIN. FFES AND
   CHARGES (fromExhibit 5)                     0.00               0.00               0.00              0.00
   PRIORITY UNSECURED
   CLAIMS (fromExhibit 6 )                     0.00               0.00               0.00              0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  366,247.84          62,268.98          62,268.98          4,507.92
                                        $366,247.84         $67,739.04        $67,739.24          $9,978.18
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on February 22, 2011.
  The case was pending for 10 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 01/12/2012                 By: /s/Timothy J. Miller
                                                  Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)


 11-44385-wsd           Doc 46     Filed 01/23/12        Entered 01/23/12 00:34:08              Page 2 of 10
                                                                EXHIBITS TO
                                                              FINAL ACCOUNT



EXHIBIT 1            GROSS RECEIPTS

                                                                                         UNIFORM                                $ AMOUNT
              DESCRIPTION
                                                                                        TRAN. CODE 1                            RECEIVED
     2010 tax refunds                                                                   1224-000                                 9,978.00

     Interest Income                                                                    1270-000                                     0.18


    TOTAL GROSS RECEIPTS                                                                                                        $9,978.18

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                         UNIFORM                                $ AMOUNT
        PAYEE                                     DESCRIPTION                           TRAN. CODE                                 PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                            $0.00
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                                     UNIFORM          CLAIMS
       CLAIM                                                         SCHEDULED               CLAIMS               CLAIMS             CLAIMS
        NO.               CLAIMANT                    TRAN.           (from Form            ASSERTED             ALLOWED              PAID
                                                      CODE                6D)
                                                                  None


    TOTAL SECURED CLAIMS                                                        $0.00               $0.00              $0.00                 $0.00



EXHIBIT 4            CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                     UNIFORM
        PAYEE                                                         CLAIMS                 CLAIMS               CLAIMS             CLAIMS
                                                      TRAN.
                                                                     SCHEDULED              ASSERTED             ALLOWED              PAID
                                                      CODE
 Timothy J. Miller                                    2100-000            N/A                    1,747.82            1,747.82          1,747.82

 Timothy J. Miller                                    2200-000            N/A                        85.00              85.00                85.00

 United States Bankruptcy Court                       2700-000            N/A                      250.00              250.00               250.00

 Osipov Bigelman, P.C.                                3210-000            N/A                    3,244.00            3,244.00          3,244.00




UST Form 101-7-TDR (10/1/2010)

              11-44385-wsd            Doc 46        Filed 01/23/12           Entered 01/23/12 00:34:08                Page 3 of 10
 Osipov Bigelman, P.C.                    3220-000          N/A                        77.52        77.72           77.72

 The Bank of New York Mellon              2600-000          N/A                        15.72        15.72           15.72

 The Bank of New York Mellon              2600-000          N/A                        25.00        25.00           25.00

 The Bank of New York Mellon              2600-000          N/A                        25.00        25.00           25.00

 TOTAL CHAPTER 7 ADMIN. FEES                                N/A                   5,470.06      5,470.26         5,470.26
 AND CHARGES


EXHIBIT 5      PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                               CLAIMS               CLAIMS             CLAIMS      CLAIMS
                                          TRAN.
                                                       SCHEDULED            ASSERTED           ALLOWED       PAID
                                          CODE
                                                     None

 TOTAL PRIOR CHAPTER ADMIN.                                 N/A                        0.00         0.00             0.00
 FEES AND CHARGES


EXHIBIT 6      PRIORITY UNSECURED CLAIMS


                                         UNIFORM        CLAIMS               CLAIMS
   CLAIM                                               SCHEDULED            ASSERTED            CLAIMS      CLAIMS
    NO.            CLAIMANT               TRAN.         (from Form         (from Proofs of     ALLOWED       PAID
                                          CODE              6E)                 Claim)
                                                     None


 TOTAL PRIORITY UNSECURED                                          0.00                0.00         0.00             0.00
 CLAIMS


EXHIBIT 7      GENERAL UNSECURED CLAIMS


                                         UNIFORM        CLAIMS               CLAIMS
   CLAIM           CLAIMANT               TRAN.        SCHEDULED            ASSERTED            CLAIMS      CLAIMS
    NO.                                                 (from Form         (from Proofs of     ALLOWED       PAID
                                          CODE              6F)                 Claim)
       1     American InfoSource LP as    7100-000                565.34            565.34         565.34           40.93
             agent for
       2     FIA CARD SERVICES, N.A.      7100-000           7,901.00             8,054.37       8,054.37          583.09

       3     FIA CARD SERVICES, N.A.      7100-000           9,511.35             9,511.35       9,511.35          688.57

       4     FIA CARD SERVICES, N.A.      7100-000          12,116.00           12,269.23       12,269.23          888.22

       5     Capital Recovery IV LLC      7100-000           1,285.00             1,396.21       1,396.21          101.08

       6     Capital One,N.A              7100-000           2,155.00             2,155.82       2,155.82          156.07

       7     Fifth Third Bank             7100-000          25,690.37           25,829.64       25,829.64        1,869.92

       8     CONSUMERS ENERGY COMPANY     7100-000                306.67            495.50         495.50           35.87

       9     GE Money Bank                7100-000           1,828.00             1,991.52       1,991.52          144.17

 NOTFILED    Citizens Gas Fuel Co.        7100-000                615.01         N/A                N/A              0.00




UST Form 101-7-TDR (10/1/2010)

            11-44385-wsd        Doc 46   Filed 01/23/12       Entered 01/23/12 00:34:08           Page 4 of 10
 NOTFILED    ABN AMRO Mortgage Group,     7100-000        unknown       N/A                 N/A              0.00
             Inc.
 NOTFILED    City Of Adrian               7100-000            130.00    N/A                 N/A              0.00

 NOTFILED    TekCollect                   7100-000        unknown       N/A                 N/A              0.00

 NOTFILED    Credit Protection            7100-000        unknown       N/A                 N/A              0.00
             Association, LP
 NOTFILED    University Of Michigan       7100-000            103.00    N/A                 N/A              0.00
             Hospital
 NOTFILED    Universal Credit Services    7100-000        unknown       N/A                 N/A              0.00

 NOTFILED    Sears Card                   7100-000            379.00    N/A                 N/A              0.00

 NOTFILED    Iowa Health Physicians       7100-000            341.00    N/A                 N/A              0.00

 NOTFILED    Karle Nursery & Landscaping, 7100-000            979.90    N/A                 N/A              0.00
             LLC
 NOTFILED    Citimortgage                 7100-000        212,592.50    N/A                 N/A              0.00

 NOTFILED    RAB, Inc.                    7100-000        unknown       N/A                 N/A              0.00

 NOTFILED    Comcast                      7100-000            647.62    N/A                 N/A              0.00

 NOTFILED    Sunrise Credit Services,     7100-000        unknown       N/A                 N/A              0.00
             Inc.
 NOTFILED    Cable Equipment Services,    7100-000            650.00    N/A                 N/A              0.00
             Inc.
 NOTFILED    Bank Of America              7100-000         80,338.00    N/A                 N/A              0.00

 NOTFILED    Bank Of America              7100-000          8,054.37    N/A                 N/A              0.00

 NOTFILED    Advanced Radiology, S.C.     7100-000             58.71    N/A                 N/A              0.00

 NOTFILED    Northstar Location Services, 7100-000        unknown       N/A                 N/A              0.00
             LLC
 TOTAL GENERAL UNSECURED                              366,247.84       62,268.98        62,268.98        4,507.92
 CLAIMS




UST Form 101-7-TDR (10/1/2010)

            11-44385-wsd       Doc 46    Filed 01/23/12     Entered 01/23/12 00:34:08     Page 5 of 10
                                                                                                                                                                         Exhibit 8


                                                                                    Form 1                                                                               Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 11-44385                                                                       Trustee:         (420470)    Timothy J. Miller
Case Name:          LEWIS, ANGELA SWORD                                                     Filed (f) or Converted (c): 02/22/11 (f)
                    LEWIS, THOMAS K.                                                        §341(a) Meeting Date:        03/30/11
Period Ending: 01/12/12                                                                     Claims Bar Date:             10/03/11

                                1                                           2                          3                      4                  5                   6

                     Asset Description                              Petition/                 Estimated Net Value          Property          Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled            (Value Determined By Trustee,    Abandoned          Received by     Administered (FA)/
                                                                     Values                 Less Liens, Exemptions,       OA=§554(a)          the Estate      Gross Value of
Ref. #                                                                                          and Other Costs)          DA=§554(c)                         Remaining Assets

 1        Bank account accounts, certificates of deposit o                      500.00                          0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 2        General Household Goods                                           1,000.00                            0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 3        General Household Goods                                           2,000.00                            0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 4        Personal Wearing Apparel                                              500.00                          0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 5        Personal Wearing Apparel                                              250.00                          0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 6        Jewelry                                                                50.00                          0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 7        Retirement                                                        6,500.00                            0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 8        Retirement Give particulars.                                  11,026.14                               0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 9        1999 Chevy Suburban                                               3,500.00                            0.00        DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

10        2010 tax refunds (u) (See Footnote)                                     0.00                      9,978.00                              9,978.00                   FA

 Int      INTEREST (u)                                                      Unknown                             N/A                                   0.18                   FA

 11       Assets       Totals (Excluding unknown values)               $25,326.14                          $9,978.00                             $9,978.18                $0.00


       RE PROP# 10       P/O 6-22-11. Actual value of income tax $9978.00




               11-44385-wsd                   Doc 46           Filed 01/23/12                  Entered 01/23/12 00:34:08 Printed:
                                                                                                                             Page 01/12/2012
                                                                                                                                       6 of10:02
                                                                                                                                             10AM                         V.12.57
                                                                                                                                                                Exhibit 8


                                                                             Form 1                                                                             Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 11-44385                                                            Trustee:        (420470)     Timothy J. Miller
Case Name:       LEWIS, ANGELA SWORD                                             Filed (f) or Converted (c): 02/22/11 (f)
                 LEWIS, THOMAS K.                                                §341(a) Meeting Date:        03/30/11
Period Ending: 01/12/12                                                          Claims Bar Date:             10/03/11

                                1                                     2                     3                       4                  5                    6

                    Asset Description                             Petition/        Estimated Net Value          Property           Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled   (Value Determined By Trustee,    Abandoned           Received by     Administered (FA)/
                                                                   Values        Less Liens, Exemptions,       OA=§554(a)           the Estate      Gross Value of
Ref. #                                                                               and Other Costs)          DA=§554(c)                          Remaining Assets



     Major Activities Affecting Case Closing:

                Claims have been reviewed. The case is ready to be closed.

     Initial Projected Date Of Final Report (TFR):   March 22, 2012                Current Projected Date Of Final Report (TFR):     October 7, 2011 (Actual)




               January 12, 2012                                                           /s/ Timothy J. Miller
          __________________________                                                      _________________________________________________________________
                         Date                                                             Timothy J. Miller




              11-44385-wsd                 Doc 46          Filed 01/23/12           Entered 01/23/12 00:34:08 Printed:
                                                                                                                  Page 01/12/2012
                                                                                                                            7 of10:02
                                                                                                                                  10AM                           V.12.57
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                                                                                    Form 2                                                                                         Page: 1

                                                       Cash Receipts And Disbursements Record
Case Number:           11-44385                                                                      Trustee:            Timothy J. Miller (420470)
Case Name:             LEWIS, ANGELA SWORD                                                           Bank Name:          The Bank of New York Mellon
                       LEWIS, THOMAS K.                                                              Account:            9200-******41-65 - Money Market Account
Taxpayer ID #:         **-***9904                                                                    Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 01/12/12                                                                              Separate Bond: N/A

   1             2                             3                                      4                                              5                    6                    7

 Trans.    {Ref #} /                                                                                                              Receipts        Disbursements           Money Market
  Date     Check #                Paid To / Received From           Description of Transaction                  T-Code               $                  $                Account Balance
07/04/11     {10}            Angela S. Lewis                p/o 6-22-11.                                        1224-000              9,978.00                                     9,978.00
07/29/11         Int         The Bank of New York Mellon    Interest posting at 0.0100%                         1270-000                   0.07                                    9,978.07
08/01/11                     The Bank of New York Mellon    Bank and Technology Services Fee                    2600-000                                        15.72              9,962.35
08/12/11                     To Account #9200******4166     transfer to checking to pay Attorney for Trustee 9999-000                                         3,321.72             6,640.63
                                                            p/0 8/11/11
08/31/11         Int         The Bank of New York Mellon    Interest posting at 0.0100%                         1270-000                   0.06                                    6,640.69
08/31/11                     The Bank of New York Mellon    Bank and Technology Services Fee                    2600-000                                        25.00              6,615.69
09/30/11         Int         The Bank of New York Mellon    Interest posting at 0.0100%                         1270-000                   0.05                                    6,615.74
09/30/11                     The Bank of New York Mellon    Bank and Technology Services Fee                    2600-000                                        25.00              6,590.74
10/04/11         Int         The Bank of New York Mellon    Current Interest Rate is 0.0100%                    1270-000                   0.00                                    6,590.74
10/04/11                     To Account #9200******4166     transfer to checking for final report               9999-000                                      6,590.74                0.00

                                                                                   ACCOUNT TOTALS                                     9,978.18                9,978.18               $0.00
                                                                                           Less: Bank Transfers                            0.00               9,912.46
                                                                                   Subtotal                                           9,978.18                  65.72
                                                                                           Less: Payments to Debtors                                             0.00
                                                                                   NET Receipts / Disbursements                      $9,978.18                 $65.72




                 11-44385-wsd
{} Asset reference(s)                              Doc 46   Filed 01/23/12                    Entered 01/23/12 00:34:08                           Page
                                                                                                                                               Printed:      8 of10:02
                                                                                                                                                        01/12/2012 10 AM            V.12.57
                                                                                                                                                                                      Exhibit 9


                                                                                       Form 2                                                                                         Page: 2

                                                     Cash Receipts And Disbursements Record
Case Number:         11-44385                                                                           Trustee:            Timothy J. Miller (420470)
Case Name:           LEWIS, ANGELA SWORD                                                                Bank Name:          The Bank of New York Mellon
                     LEWIS, THOMAS K.                                                                   Account:            9200-******41-66 - Checking Account
Taxpayer ID #:       **-***9904                                                                         Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 01/12/12                                                                                 Separate Bond: N/A

   1             2                             3                                          4                                             5                    6                    7

 Trans.    {Ref #} /                                                                                                                 Receipts        Disbursements             Checking
  Date     Check #              Paid To / Received From                Description of Transaction                  T-Code               $                  $                Account Balance
08/12/11                   From Account #9200******4165        transfer to checking to pay Attorney for Trustee 9999-000                 3,321.72                                     3,321.72
                                                               p/0 8/11/11
08/12/11     101           Osipov Bigelman, P.C.                                                                   3210-000                                      3,244.00               77.72
08/12/11     102           Osipov Bigelman, P.C.                                                                   3220-000                                        77.72                 0.00
10/04/11                   From Account #9200******4165        transfer to checking for final report               9999-000              6,590.74                                     6,590.74
12/01/11     103           United States Bankruptcy Court      Dividend paid 100.00% on $250.00, Clerk of          2700-000                                       250.00              6,340.74
                                                               the Court Costs (includes adversary and other
                                                               filing fees); Reference:
12/01/11     104           Timothy J. Miller                   Dividend paid 100.00% on $1,747.82, Trustee         2100-000                                      1,747.82             4,592.92
                                                               Compensation; Reference:
12/01/11     105           Timothy J. Miller                   Dividend paid 100.00% on $85.00, Trustee            2200-000                                        85.00              4,507.92
                                                               Expenses; Reference:
12/01/11     106           American InfoSource LP as agent for Dividend paid 7.23% on $565.34; Claim# 1;           7100-000                                        40.93              4,466.99
                                                               Filed: $565.34; Reference:
12/01/11     107           FIA CARD SERVICES, N.A.             Dividend paid 7.23% on $8,054.37; Claim# 2;         7100-000                                       583.09              3,883.90
                                                               Filed: $8,054.37; Reference:
12/01/11     108           FIA CARD SERVICES, N.A.             Dividend paid 7.23% on $9,511.35; Claim# 3;         7100-000                                       688.57              3,195.33
                                                               Filed: $9,511.35; Reference:
12/01/11     109           FIA CARD SERVICES, N.A.             Dividend paid 7.23% on $12,269.23; Claim# 4; 7100-000                                              888.22              2,307.11
                                                               Filed: $12,269.23; Reference:
12/01/11     110           Capital Recovery IV LLC             Dividend paid 7.23% on $1,396.21; Claim# 5;         7100-000                                       101.08              2,206.03
                                                               Filed: $1,396.21; Reference:
12/01/11     111           Capital One,N.A                     Dividend paid 7.23% on $2,155.82; Claim# 6;         7100-000                                       156.07              2,049.96
                                                               Filed: $2,155.82; Reference:
12/01/11     112           Fifth Third Bank                    Dividend paid 7.23% on $25,829.64; Claim# 7; 7100-000                                             1,869.92              180.04
                                                               Filed: $25,829.64; Reference:
12/01/11     113           CONSUMERS ENERGY COMPANY Dividend paid 7.23% on $495.50; Claim# 8;                      7100-000                                        35.87               144.17
                                                               Filed: $495.50; Reference:
12/01/11     114           GE Money Bank                       Dividend paid 7.23% on $1,991.52; Claim# 9;         7100-000                                       144.17                 0.00
                                                               Filed: $1,991.52; Reference:

                                                                                      ACCOUNT TOTALS                                     9,912.46                9,912.46               $0.00
                                                                                              Less: Bank Transfers                       9,912.46                   0.00
                                                                                      Subtotal                                                0.00               9,912.46
                                                                                              Less: Payments to Debtors                                             0.00
                                                                                      NET Receipts / Disbursements                          $0.00            $9,912.46




                 11-44385-wsd
{} Asset reference(s)                              Doc 46      Filed 01/23/12                    Entered 01/23/12 00:34:08                           Page
                                                                                                                                                  Printed:      9 of10:02
                                                                                                                                                           01/12/2012 10 AM            V.12.57
                                                                                                                                                                         Exhibit 9


                                                                          Form 2                                                                                         Page: 3

                                                     Cash Receipts And Disbursements Record
Case Number:         11-44385                                                              Trustee:            Timothy J. Miller (420470)
Case Name:           LEWIS, ANGELA SWORD                                                   Bank Name:          The Bank of New York Mellon
                     LEWIS, THOMAS K.                                                      Account:            9200-******41-66 - Checking Account
Taxpayer ID #:       **-***9904                                                            Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 01/12/12                                                                    Separate Bond: N/A

   1             2                          3                               4                                              5                    6                    7

 Trans.    {Ref #} /                                                                                                    Receipts        Disbursements             Checking
  Date     Check #              Paid To / Received From       Description of Transaction              T-Code               $                  $                Account Balance


                                                                                                                              Net                Net                  Account
                                                                          TOTAL - ALL ACCOUNTS                              Receipts        Disbursements             Balances

                                                                          MMA # 9200-******41-65                            9,978.18                  65.72                 0.00
                                                                          Checking # 9200-******41-66                            0.00               9,912.46                0.00

                                                                                                                           $9,978.18            $9,978.18                  $0.00




                 January 12, 2012                                               /s/ Timothy J. Miller
          __________________________                                            _________________________________________________________________
                                Date                                            Timothy J. Miller




                11-44385-wsd
{} Asset reference(s)                           Doc 46    Filed 01/23/12         Entered 01/23/12 00:34:08                             Page
                                                                                                                                     Printed:     10 of10:02
                                                                                                                                              01/12/2012 10AM             V.12.57
